      Case 7:18-cv-00303 Document 13 Filed in TXSD on 11/21/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA              §
                                       §
                   Plaintiff,          §
 v.                                    §        CASE NO. 7:18-cv-303
                                       §
 26.000 ACRES OF LAND, MORE OR         §
 LESS SITUATE IN HIDALGO COUNTY,       §
 STATE OF TEXAS; AND THE PHARR         §
 ORATORY OF ST. PHILIP NERI OF         §
 PONTIFICAL RITE, A TEXAS              §
 NON PROFIT CORPORATION,               §
                                       §
                    Defendants.        §
______________________________________________________________________________

           PLAINTIFF UNITED STATES OF AMERICA’S DISCLOSURE
                          OF INTERESTED PARTIES
______________________________________________________________________________

       NOW COMES, United States of America, by and through Ryan K. Patrick, United States

Attorney, and hereby certifies that the following persons or entities have a financial interest in the

outcome of this litigation:

   1. The Pharr Oratory of St. Philip Neri of Pontifical Rite, a Texas Non Profit Corporation, c/o

       Attorney David C. Garza, identified as an interested party in Schedule G of the Complaint;

   2. United States of America, Plaintiff.




                                              Page 1 of 3
                                  Disclosure of Interested Parties
Case 7:18-cv-00303 Document 13 Filed in TXSD on 11/21/18 Page 2 of 3



                                         Respectfully submitted,

                                         RYAN K. PATRICK
                                         United States Attorney
                                         Southern District of Texas

                                 By:     s/ John A. Smith, III_________________
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                                Page 2 of 3
                     Disclosure of Interested Parties
      Case 7:18-cv-00303 Document 13 Filed in TXSD on 11/21/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I, John A. Smith, III, Assistant United States Attorney, hereby certify that on November

21, 2018, I served the foregoing using the Court’s ECF notification system on all parties receiving

ECF notice in this case.



                                      By:    s/ John A. Smith, III_________________
                                             JOHN A. SMITH, III
                                             Assistant United States Attorney




                                            Page 3 of 3
                                 Disclosure of Interested Parties
